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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            NEW ALBANY DIVISION


LOUIS and KAREN METRO FAMILY, LLC, and             )
SOUTHERN OHIO PIZZA, INC.,                         )
                                                   )
                               Plaintiffs,         )
                                                   )
                  v.                               )     4:06-cv-177-WGH-DFH
                                                   )
LAWRENCEBURG CONSERVANCY DISTRICT,                 )
and CITY OF LAWRENCEBURG,                          )
                                                   )
                               Defendants.         )



           ENTRY ON CROSS-MOTIONS FOR SUMMARY JUDGMENT


                                    Introduction

      This matter is before the Honorable William G. Hussmann, Jr., United

States Magistrate Judge, on Defendants’ Motion for Summary Judgment filed

November 30, 2007 (Docket Nos. 34-37, 40) and Plaintiffs’ Motion for Partial

Summary Judgment filed November 30, 2007 (Docket Nos. 38-39, 41-43).1


                                    Background

      Plaintiff Louis and Karen Metro Family, LLC (“Metro”) is an Ohio LLC owned

and operated by Louis and Karen Metro, who are both residents of Ohio. (First

Amended Complaint ¶ 1). Plaintiff Southern Ohio Pizza, Inc. (“SOP”) is an




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        In their Case Management Plan filed March 30, 2007, the parties consented to
 Magistrate Judge jurisdiction in this case. (Docket No. 15). District Judge David
 Frank Hamilton entered an Order of Reference on April 3, 2007. (Docket No. 16).
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Ohio corporation. (Id. ¶ 2). Defendant Lawrenceburg Conservancy District (“LCD”

or “District”) is a conservancy district created pursuant to Indiana statutes. (Id. ¶

3). Defendant City of Lawrenceburg (“City”) is a municipality located in Dearborn

County, Indiana. (Id. ¶ 4).

      In 2000, the City and LCD intended to begin a project known as the

Westside Flood Protection Project (the “Levee Project”), which involved

construction of a levee. (Affidavit of Charles F. McNimery (“McNimery Aff.”) ¶ 3).

Funding for the Levee Project was approved on December 21, 2000. [Id. ¶ 4). Part

of the Levee Project included taking a parcel of land (the “Property”) owned by

Metro to be used for the construction of the levee. (Id. ¶ 3). In 2001, LCD notified

Metro that LCD intended to acquire, through eminent domain, property located at

8-12 Beilby Road in Lawrenceburg, Indiana, for the Levee Project. (Affidavit of

Louis Metro (“Metro Aff.”)).2

      On March 21, 2001, LCD sent Metro an acquisition offer for the Property.

(Defendants’ Motion for Summary Judgment at Ex. 11 (“Acquisition Offer”)). The

Acquisition Offer stated that LCD offered Metro $417,000.00 for the

Property. (Id.) On October 31, 2001 the LCD and Metro executed an agreement

for the purchase of the Property (the “Purchase Agreement”). (First Amended

Complaint at Ex. A).




        At that time, Metro also owned a three bay commercial building on the
        2

 property. (Metro Aff. ¶ 3). SOP leased one of the available spaces in that building and
 operated a Domino’s Pizza franchise store at that location. (Id.) Both of the other
 leasable spaces were likewise occupied by tenants.

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      Under the Purchase Agreement, Metro agreed to convey land to LCD in

exchange for $417,000.00. (First Amended Complaint at Ex. A). Paragraph 2 of

the Purchase Agreement contained the following provision:

             2. At the time of closing, which shall occur on or before
      November 30, 2001, District shall execute an irrevocable Option in
      favor of Metro wherein Metro shall have the right to purchase 0.827
      acres of the real estate described in Exhibit A and the adjoining 0.555
      acres (formerly part of the Taylor property) for a purchase price of
      Two Hundred Sixty-Nine Thousand Four Hundred Ninety
      ($269,490.00) Dollars, which Option shall specify that the purchase
      shall be subject to a new easement in favor of District for the location,
      repair, maintenance and replacement of its facilities to be constructed
      on said real estate; a new easement in favor of City for the location,
      repair, maintenance and replacement of its new pumping station to be
      constructed on said real estate; existing easements for roads in favor
      of the State of Indiana; existing flowage easements in favor of the
      United States of America; other easements of record; and riparian
      rights of Tanner’s Creek, and shall be exercisable for a period of
      eighteen (18) months commencing with the date written notice of
      Substantial Completion of the District’s facilities is given by District to
      Metro by registered mail, certified mail, acknowledged facsimile, or
      acknowledged email transmission. The Option shall further stipulate
      that the property be excavated and left by the District in a reasonable
      manner to facilitate Metro’s plans to rebuild a facility.

(Id.) At the time of the Purchase Agreement, LCD and the City intended to use the

Property for the construction of a levee for the Levee Project. (McNimery Aff. ¶ 3).

The Purchase Agreement contemplated an 18-month time frame in which the levee

would be built. To that end, the Purchase Agreement provided for temporary

relocation expenses, including temporary lease premiums, to be paid to SOP, and

included an option for Metro to repurchase the property (“the Option”) at the

conclusion of the Levee Project. (First Amended Complaint at Ex. A).




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      Metro conveyed the Property to LCD, by deed on November 30, 2001.

(Affidavit of Barbara Kaffenberger (“Kaffenberger Aff.”); see also Defendants’

Motion for Summary Judgment at Ex. 6 (“Warranty Deed”)). Metro’s attorneys

prepared the deed conveying the Property from Metro to LCD. (See Warranty

Deed). There has been no evidence presented by any party that suggests that the

Option referred to in the Purchase Agreement was drafted and presented to Metro

at the time of closing.

      SOP relocated its Domino’s Pizza to a new location in Lawrenceburg. (Metro

Aff. ¶¶ 6, 8). And, SOP specifically negotiated an “early termination of lease”

provision with its new landlord contemplating the temporary nature of the

agreement between Metro and LCD. (Id. ¶ 8).

      On January 28, 2002, a Resolution to Withdraw from the Levee Project was

passed by the City Council for the City, which withdrew the funding for the

project. (McNimery Aff. ¶¶ 5-6; Defendants’ Motion for Summary Judgment at Ex.

9 (“Resolution to Withdraw”)). The stated reason for the termination of the

funding for the Levee Project was that the amount of acreage that would be made

available for commercial development along the Ohio River was ultimately

estimated at less than one-half of the original estimates. (McNimery Aff. ¶ 6).

This was due to the original estimates not taking into consideration existing power

lines, retention ponds, 250 feet rights-of-way on both sides of a proposed road,

and green spaces required by the Army Corps of Engineers. (Id.) The original

estimate of acreage freed up for development was approximately 550 acres, and




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after taking into consideration the above mentioned factors, the net acreage for

development became approximately 170 acres. (Id.) The Lawrenceburg City

Council did not feel that the Project was economically feasible since the cost of the

Levee Project was estimated to cost between $35 and $40 million dollars. Thus,

funding for the Levee Project was terminated. (Id.; Resolution to Withdraw).

       Once it became clear that LCD was not going to construct a levee on the

Property, Metro repeatedly and continuously attempted to contact LCD and/or its

representatives regarding the status of the Levee Project and Metro’s Option. (See

Metro Aff. at Ex. B). For over a year, LCD completely ignored Metro’s calls and

letters. (Metro Aff. ¶ 10). On August 31, 2005, LCD responded to Plaintiffs that

LCD had “abandoned its plans to construct the levee contemplated by the

Agreement.” (Id. ¶ 11). After repeated attempts to follow up on the Option, Metro

finally received a letter from counsel for LCD on May 16, 2006, explaining that the

Option was not exercisable because LCD had chosen not to build the levee. (Id. ¶

12).

       On August 2, 2006, counsel for LCD notified Plaintiffs that the Property was

being transferred to the City pursuant to an Interlocal Agreement (“IA”) entered

into by LCD and the City (Metro Aff. at Ex. C), and that a park was to be built on

the property. (Id. ¶ 13). Paragraph 4 of the IA purports to transfer LCD’s rights

and obligations in the Agreement to the City. LCD and/or the City continued to

refuse to permit Metro to exercise its Option to repurchase the Property. (Id. ¶ 14).




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Metro has since learned that the City is now planning to use the property for the

construction of a bridge. (Metro Aff. at Ex. D).

      In late 2006, Plaintiffs filed suit claiming that Defendants “refused to allow

Metro to exercise its Option.” (First Amended Complaint ¶ 31). Plaintiffs asserted

claims of breach of contract, fraud, and promissory estoppel and also argued for

punitive damages. (First Amended Complaint).

      Defendants filed their Motion for Summary Judgment arguing that Plaintiffs’

breach of contract claim is barred by the doctrine of merger of deed. Defendants

also argue that, in the alternative, the contract is unambiguous and that any

option to repurchase the Property was subject to the condition precedent of

building the levee; that Plaintiffs’ fraud claim must be dismissed because fraud

cannot be based on a future promise; and that government entities are usually not

subject to claims of promissory estoppel. Plaintiffs filed their Motion for Partial

Summary Judgment claiming: that the contract is ambiguous, must be construed

in favor of Plaintiffs, and that parol evidence merits a finding in favor of Plaintiffs;

that the doctrine of merger of deed does not bar recovery; and that Plaintiffs’

promissory estoppel claim is warranted because of Plaintiffs’ detrimental reliance.


                           Summary Judgment Standard

      Summary judgment must be granted “if the pleadings, depositions, answers

to interrogatories, and admissions on file, together with the affidavits, if any, show

that there is no genuine issue of material fact and that the moving party is entitled

to a judgment as a matter of law.” FED. R. CIV. P. 56(c). The motion should be



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granted so long as no rational fact finder could return a verdict in favor of the

nonmoving party. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

Thus, a court’s ruling on a motion for summary judgment is akin to that of a

directed verdict, as the question essentially for the court in both is “whether the

evidence presents a sufficient disagreement to require submission to a jury or

whether it is so one-sided that one party must prevail as a matter of law.” Id. at

251-52. When ruling on the motion, the court must construe the evidence in the

light most favorable to the nonmoving party and draw all reasonable inferences

therefrom in that party’s favor. Id. at 255. If the nonmoving party bears the

burden of proof on an issue at trial, that party “must set forth specific facts

showing that there is a genuine issue for trial.” FED. R. CIV. P. 56(e); see also Silk

v. City of Chicago, 194 F.3d 788, 798 (7th Cir. 1999). Lastly, the moving party

need not positively disprove the nonmovant’s case; rather, it may prevail by

establishing the lack of evidentiary support for that case. See Celotex Corp. v.

Catrett, 477 U.S. 317, 325 (1986).


                                       Analysis

      In ruling on these cross-motions for summary judgment, the Court must

make three determinations:

      (1)    Is Plaintiffs’ contract claim viable given Defendants’ assertion
             that it is barred by the doctrine of merger by deed?

      (2)    Does Plaintiffs’ fraud claim fail because it is based on a future
             promise?




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      (3)    Do Plaintiffs have a viable claim of promissory estoppel given
             Defendants’ status as a government entity?

1.    Indiana Law Applies to this Dispute

      As an initial matter, the Court must examine which state’s laws apply to

this dispute. This is a suit based on the Court’s diversity jurisdiction. While a

federal court sitting in diversity jurisdiction shall apply its own procedural laws, it

must apply the substantive laws of the state in which it sits. First Nat. Bank and

Trust Corp. v. American Eurocopter Corp., 378 F.3d 682, 689 (7th Cir. 2004). The

Court must, therefore, apply Indiana substantive law. However, ‘[i]f the laws of

more than one jurisdiction arguably are in issue, Erie also requires a federal court

to apply [the forum] state’s choice of law rules.” Jean v. Dugan, 20 F.3d 255, 260-

61 (7th Cir. 1994). Thus, the Court must apply Indiana’s choice of law rules.

Here, the parties agree, and the Court concurs, that Indiana’s choice of law rules

clearly call for the application of Indiana law to this dispute.

2.    Plaintiffs’ Breach of Contract Claim Fails

      Defendants argue that the Option to repurchase the Property was

extinguished by the doctrine of merger by deed. When examining contracts for the

purchase of real property, Indiana courts have adopted the doctrine of merger by

deed which states that “[i]n the absence of fraud or mistake, all prior or

contemporaneous negotiations or executory agreements, written or oral, leading

up to the execution of a deed are merged therein by the grantee’s acceptance of

the conveyance in performance thereof.” Thompson v. Reising, 51 N.E.2d 488, 491

(Ind.Ct.App. 1943). The Court in Reising further explained that any existing



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contracts between the parties, “if not carried forward into the deed, are

extinguished thereby, and no action lies on the contract.” Id. An exception to this

general rule applies, however, where the contract creates rights that are “collateral

to and independent of the conveyance.” Williams v. Younginer, 851 N.E.2d 351,

356-57 (Ind.Ct.App. 2006)(quoting Reising, 51 N.E.2d at 488). These “collateral”

rights are generally rights not having to do with title, possession, quality, or

emblements of the land conveyed. Younginer, 851 N.E.2d at 357. “Collateral and

independent rights or obligations are permitted to survive the deed because their

performances are not necessary to the conveyance of the real estate; thus, there is

no need to merge them into the contract.” Id.

      Here, Plaintiffs do not allege that the deed was conveyed because of a

mistake and, as discussed below, Plaintiffs’ allegations of fraud fail.

Consequently, because the Option was an existing contract between the parties

that was not carried forward in the deed, the only issue to be determined is

whether or not the Option still survives because it was a collateral undertaking.

Indiana courts have not addressed this issue. However, it is clear that the Option

referenced in the parties’ Purchase Agreement did not create collateral and

independent rights. The Option created rights that dealt with both the title and

quality of the land conveyed. By being granted the option to repurchase the

Property, Metro would be granted a right that affected title to the Property. The

title would be encumbered by a right to repurchase the Property upon completion

of the Levee Project. Additionally, the Option created rights that affected the




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quality of the land conveyed by requiring “that the property be excavated and left

by the District in a reasonable manner to facilitate Metro’s plans to rebuild a

facility.”3 Because the Option created such rights, it was not a collateral

undertaking, and the Option was extinguished upon conveyance of the deed.

Defendants’ Motion for Summary Judgment seeking dismissal of Plaintiffs’ breach

of contract claim is GRANTED.

3.    Plaintiffs Have Not Asserted Facts Sufficient to Establish a Claim of
      Fraud

      Defendants’ next argument is that Plaintiffs have failed to demonstrate facts

sufficient to establish fraud. In Indiana, the elements of an actual fraud claim

include:

      (1) a material representation of past or existing fact which
      (2) was false,
      (3) was made with knowledge or reckless ignorance of its falsity,
      (4) was made with the intent to deceive,
      (5) was rightfully relied upon by the complaining party,
      (6) proximately caused injury to the complaining party.

Bilimoria Computer Systems, LLC v. America Online, Inc., 829 N.E.2d 150,

(Ind.Ct.App. 2005). Furthermore, “actual fraud may not be based on

representations of future conduct, on broken promises, or on representations of

existing intent that are not executed.” Id. In this case, Plaintiffs claim that LCD

promised to allow Metro the option to repurchase the Property at issue in this suit



        3
         The Court also notes that it appears clear from the Purchase Agreement that
  the parties contemplated the effect of the doctrine of merger by deed. The Purchase
  Agreement states that an irrevocable option would be executed by LCD at closing. It
  appears clear from this language that the parties knew that the Purchase Agreement
  would not survive conveyance of the deed and that a new option would need to be
  executed at the same time that the deed was conveyed.

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and then reneged on the promise. The facts alleged here are exactly the type of

broken promise that does not give rise to a cause of action sounding in actual

fraud. Defendants’ Motion for Summary Judgment seeking dismissal of Plaintiffs’

fraud claim is GRANTED.

4.    Plaintiffs’ Equitable Estoppel Claim Survives

      Defendants also argue that Plaintiffs’ equitable estoppel claim must fail

because, in Indiana, equitable estoppel is a doctrine that generally does not apply

to government entities. Defendants are correct that Indiana courts have

concluded that government entities are, as a general matter, not subject to claims

of equitable estoppel. Equicor Development, Inc. v. Westfield-Washington Tp. Plan

Com’n, 758 N.E.2d 34, 39 (Ind. 2001). However, equitable estoppel of government

entities is appropriate in certain situations. When the party has detrimentally

relied on the governmental entity’s affirmative assertion or on its silence where

there was a duty to speak, equitable estoppel is an available remedy. Id.

      Plaintiffs, in this case, have asserted facts which support their claim of

equitable estoppel. The elements of an equitable estoppel claim include: (1) a

representation or concealment of a material fact; (2) made with knowledge of the

fact and with the intention that the other party act upon it; (3) to a party ignorant

of the fact; and (4) which induces the other party to rely or act upon the fact to his

detriment. Clark v. Crowe, 778 N.E.2d 835, 840 (Ind.Ct.App. 2002). “Generally,

equitable estoppel involves a misrepresentation and detrimental reliance, but is

not strictly limited to circumstances involving an actual false representation or




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concealment of existing fact.” Roberts v. ALCOA, Inc., 811 N.E.2d 466, 475

(Ind.Ct.App. 2004). Whether conduct is sufficient to support a claim of equitable

estoppel is largely dependant upon the facts and circumstances of each particular

case. Liberty Nat. Bank & Trust Co. v. Payton, 602 N.E.2d 530, 534 (Ind.Ct.App.

1992).

      Plaintiffs allege that LCD made two interrelated specific representations of

material fact – specifically, that a levee would be built upon land owned by Metro,

and that at the completion of the Levee Project, Metro would be allowed to

repurchase the Property that was to be conveyed to the LCD. While the two

representations are not representations of existing facts, the Roberts case does

indicate that the doctrine of equitable estoppel is not “strictly limited” to

circumstances involving an “actual” false representation or a “concealment of

existing fact.” Therefore, the first argument of the doctrine of equitable estoppel is

met here.

      It can also reasonably be inferred that LCD made these two representations

with knowledge of these facts, and with the intention that Metro act upon them.

The third element of promissory estoppel can be satisfied in this case because it

can reasonably be inferred that Metro was ignorant of these facts – that a levee

was to be built and that the Option would be granted – until the representations

were actually made by LCD.

      Finally, viewing the facts in the light most favorable to Plaintiffs, there may

have been detrimental reliance in this instance. Plaintiffs allege that they relied




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on promises made by LCD to their detriment in two ways. Plaintiffs argue that

Metro would have never sold the Property had there been no Levee Project and no

Option to repurchase the Property, and Plaintiffs claim that they entered into

economically less attractive short-term lease agreements with the belief that they

would be able to repurchase the Property as soon as the levee was constructed.

These allegations are sufficient to demonstrate detrimental reliance, which is a

key requirement for a successful equitable estoppel claim against a government

entity.

      Additionally, Plaintiffs have raised sufficient issues of fact concerning the

other elements of their equitable estoppel claim to survive Defendants’ Motion for

Summary Judgment. Plaintiffs argue that they were left in the dark about the fact

that the Option to repurchase the Property would be extinguished if no levee was

built. According to Plaintiffs, LCD threatened to begin eminent domain

proceedings against Metro in order to obtain the Property to build a levee. There

have been no facts plead that suggest that at the time of the Purchase Agreement

LCD stated some other “public purpose” for obtaining the Property. And, the

terms of the Purchase Agreement and the Option to repurchase the Property

contemplate no other reason for acquisition of the Property but for the creation of

a levee. Given the focus on the creation of a levee, it was reasonable for Plaintiffs

to conclude that: (1) a levee was going to be built; (2) that Metro was going to get

to repurchase the Property once the levee was built; and (3) that if the Levee

Project fell through, Metro would still have the option to repurchase the Property




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because the very reason that the LCD wanted the property would then cease to

exist. If LCD’s argument is that Metro never had the right to repurchase the

Property in the event that the Levee Project fell through, then LCD clearly

concealed that fact from Metro. Such concealment, along with Metro’s detrimental

reliance, gives rise to Plaintiffs’ equitable estoppel claim. Defendant’s Motion for

Summary Judgment on this matter is, therefore, DENIED.


                                     Conclusion

         For the reasons outlined above, Defendants’ Motion for Summary Judgment

is GRANTED, in part, and DENIED, in part. Plaintiffs’ Motion for Partial

Summary Judgment is DENIED. Plaintiffs’ claim of equitable estoppel remains for

trial.

         SO ORDERED.

                                                _______________________________
Dated: March 5, 2008
                                                 WILLIAM G. HUSSMANN, JR.
                                                      Magistrate Judge




Electronic copies to:

Richard A. Butler                               William C. Moyer
rabutler9@comcast.net                           LORCH & NAVILLE, LLC
                                                wmoyer@lorchnaville.com
Jeanette N. Dannenfelser
THE WOLFE PRACTICE, LPA                         Joseph Wilber Votaw III
jdannenfelser@twplaw.com                        VOTAW & KISOR
                                                josephvotaw@earthlink.net




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